Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 1 of 10 Page ID #:5997




 1 Anthony T. Caso (Cal. Bar #88561)
   Email: atcaso@ccg1776.com
 2
   CONSTITUTIONAL COUNSEL GROUP
 3 174 W Lincoln Ave # 620
   Anaheim, CA 92805-2901
 4 Phone: 916-601-1916
   Fax: 916-307-5164
 5
   Charles Burnham (D.C. Bar# 1003464)*
 6
   Email: charles@burnhamgorokhov.com
 7 BURNHAM & GOROKHOV PLLC
   1424 K Street NW, Suite 500
 8 Washington, D.C. 20005
   Telephone: (202) 386-6920
 9
   * admitted pro hac vice
10
     Attorneys for Plaintiff
11

12
                          UNITED STATES DISTRICT COURT
13
           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
14
     JOHN C. EASTMAN,                    Case No.: 8:22-cv-00099-DOC-DFM
15
                          Plaintiff,
16   vs.

17   BENNIE G. THOMPSON, et al.
18                        Defendants

19

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21           MOTION TO RECONSIDER OR IN THE ALTERNATIVE FOR A
                         STAY PENDING APPEAL
22
           John Eastman, through undersigned counsel, respectfully asks this Court to
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     reconsider it’s October 19, 2022 order (ECF 372), or in the alternative to stay
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25   enforcement of the order pending appeal to the United States Circuit Court for the

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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 2 of 10 Page ID #:5998




 1   Ninth Circuit, pursuant to Fed. R. Civ. P. 62(c). In support of this motion, he asserts
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     the following:
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                                      BACKGROUND
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 5         On October 19 this Court ordered Plaintiff to produce a number of emails
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     pursuant to the crime fraud exception. ECF 372. Dr. Eastman respectfully submits
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     that the relevant context shows that this ruling was clearly erroneous. For the
 8
     reasons set forth below, the Court’s ruling should be corrected either through
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10   reconsideration or appeal.

11                                      ARGUMENT

12   I.    This Court Should Reconsider its October 19 Order
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           Local Rule 7-18(c) allows for reconsideration in cases of “a manifest
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     showing of a failure to consider material facts.” In its October 19 order, this Court
15
     ordered several emails produced under the crime fraud privilege exception
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     pursuant to a finding that “President Trump knew that the specific numbers of
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18   voter fraud [included in a federal court filing] were wrong but continued to tout

19   those numbers, both in court and in the public.” ECF 372 at 17. Dr. Eastman
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     submits that the full email record clearly shows that the President’s lawyers took
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     great care to ensure all court filings were accurate. The Court also held that a few
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     emails “make clear that President Trump filed certain lawsuits not to obtain legal
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     relief, but to disrupt or delay the January 6 congressional proceedings through the
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25   courts.” ECF 372 at 15. Dr. Eastman submits that the full email record

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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 3 of 10 Page ID #:5999




 1   demonstrates that the legal filings were all designed to obtain a ruling from the
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     court on the contested election challenges.
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           Included with this filing is an affidavit1 which identifies specific documents
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     previously submitted for the court’s in camera review that explain the true import
 5
     of the email record surrounding the Presidential certification submitted in
 6

 7   connection with Trump v. Kemp, 511 F.Supp. 3d 1325, 1330 (N.D. Ga. 2021) and

 8   the purpose for the filing of the complaint in that case. Ex. 1. The affidavit and
 9
     referenced documents clearly show that no false information was knowingly
10
     submitted by the President or his attorneys, and that the complaint was not filed for
11
     an improper purpose.
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     II.   In the Alternative, this Court Should Grant a Stay of the October 19
14
           Order Pending Appeal
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16         a. Legal Standard
17         Four factors govern stays pending appeal: “(1) whether the stay applicant has
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     made a strong showing that he is likely to succeed on the merits; (2) whether the
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     applicant will be irreparably injured absent a stay; (3) whether issuance of the stay
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     will substantially injure the other parties interested in the proceeding; and (4) where
21

22   the public interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987); see also

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24   1
      Because the affidavit includes the content of communications that this Court has
     held to be privileged, in is submitted in camera.
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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 4 of 10 Page ID #:6000




 1   Golden Gate Rest. Ass'n v. City & Cnty. of San Francisco, 512 F.3d 1112, 1115 (9th
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     Cir. 2008). The same standard applies to district courts applying Civil Rule 62(c) as
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     appellate courts applying Appellate Rule 8. Hilton, 481 U.S. at 776
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           These factors are not rigid, rather they operate on a continuum. Thus, the
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     Ninth Circuit has formulated two alternative tests to show a stay is warranted. The
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 7   first, drawn from the injunctive relief standard, requires the moving party to show:

 8   “(1) a strong likelihood of success on the merits, [and] (2) the possibility of
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     irreparable injury to plaintiff if preliminary relief is not granted[.]” Golden Gate
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     Rest. Ass'n, 512 F.3d at 1115–16 (alterations in original) (quoting Natural Res. Def.
11
     Council, Inc. v. Winter, 502 F.3d 859, 862 (9th Cir. 2007)). The second requires the
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     moving party to “demonstrate that serious legal questions are raised and that the
13

14   balance of hardships tips sharply in its favor.” Id. at 1116 (quoting Lopez v. Heckler,

15   713 F.2d 1432, 1435 (9th Cir. 1983)).
16
           On this sliding scale, the more concrete the irreparable harm, the less weight
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     is placed on possibility of success on the merits. Id. Conversely, “the required degree
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     of irreparable harm increases as the probability of success decreases.” Id. (quoting
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     Winter, 502 F.3d at 862). Additionally, this Court must “consider ‘where the public
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21   interest lies' separately from and in addition to ‘whether the applicant [for stay] will

22   be irreparably injured absent a stay[.]’' id. (alterations in original) (quoting Winter,
23
     502 F.3d at 863 (itself quoting Hilton, 481 U.S. at 776)).
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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 5 of 10 Page ID #:6001




 1         As discussed below, Dr. Eastman can demonstrate every element and meet
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     both standards.
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           b. All Factors Weigh in Favor of a Stay of this Court’s October 19 Order
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                  i. Likelihood of Success on the Merits
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           As stated above, we have submitted an in camera affidavit in connection with
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 7   this filing which provides critical context for the emails at issue. We respectfully

 8   submit that in light of this context the Court’s crime-fraud ruling is clearly erroneous.
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                  ii. Irreparable Harm
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           Disclosure of privileged information is itself and irreparable injury. Once
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     privileged communications are disclosed, that disclosure is permanent. As one court
12
     explained:
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14         Once confidentiality is breached, the harm is done and cannot be
           undone. Plaintiff cannot subsequently perform its commitment to its
15         clients to protect the confidentiality of the documents and the
           information which they contain. There is no way to recapture and
16
           remove from the knowledge of others information improperly disclosed
17         by Defendant. No court order or specific performance can be framed to
           accomplish that end, and no award of money damages will change the
18         fact that information which Plaintiff was entitled to have kept from the
           knowledge of third parties is no longer shielded from their gaze.
19         Confidentiality, like pregnancy, is an all or nothing proposition; either
           it exists or it does not exist.
20

21
     Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Bishop, 839 F. Supp. 68, 72 (D. Me.

22   1993) (finding irreparable harm). “Once the documents are surrendered,” in other

23   words, “confidentiality will be lost for all time. The status quo could never be
24
     restored.” Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979); see
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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 6 of 10 Page ID #:6002




 1   PepsiCo, Inc. v. Redmond, 1996 WL 3965, at *30 (N.D. Ill. 1996) (“[J]ust as it is
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     impossible to unring a bell, once disclosed, . . . confidential information lose their
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     secrecy forever”); Metro. Life Ins. Co. v. Usery, 426 F. Supp. 150, 172 (D.D.C. 1976)
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     (“Once disclosed, such information would lose its confidentiality forever.”). This is
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     why, as the D.C. Circuit recently explained, “irreparable injury is frequently found
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 7   when a movant seeks to prevent the disclosure of privileged documents pending

 8   litigation. That is generally because the holders of the privileges will, themselves,
 9
     be irreparably harmed by release, and time is not of the essence.” Trump v.
10
     Thompson, 20 F.4th at 47.
11
                 iii. No Substantial Injury to the Congressional Defendants
12
           The Committee’s harm would be merely a delay in its receipt of documents.
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14   In the analogous FOIA context, an “ ‘interest in receiving the records immediately .

15   . . poses no threat of irreparable harm’ to them”—at least not a cognizable one. Cf.
16
     Shapiro v. U.S. Dep’t of Justice, 2016 WL 3023980, at *7 (D.D.C. May 25, 2016)
17
     (quoting John Doe Agency v. John Doe Corp., 488 U.S. 1306, 1309 (1989)
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     (Marshall, J., in chambers)). This remains true even when resolution of the merits
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     will delay government action. Fund For Animals v. Norton, 281 F. Supp. 2d 209,
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21   222 (D.D.C. 2003) (rejecting government’s claim of harm in having its action

22   “delayed for a short period of time pending resolution of this case on the merits”);
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     22nd Avenue Station, Inc. v. City of Minneapolis, 429 F. Supp. 2d 1144, 1152 (D.
24
     Minn. 2006) (delaying implementation of ordinance). In any event, a delay is an
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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 7 of 10 Page ID #:6003




 1   entirely different class of harm than the permanent disclosure of privileged
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     information.
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                 iv. Public Interest
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           Attorney client privilege is a public good. While the individual relationship
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     benefits an individual client, the possibility of seeking full and frank legal advice
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 7   benefits society immensely. Because the privilege “encourage[s] full and frank

 8   communication between attorneys and their clients” it “promote[s] broader public
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     interests in the observance of law and administration of justice.” Upjohn Co. v.
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     United States, 449 U.S. 383, 389 (1981). To that end, “[t]he privilege recognizes that
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     sound legal advice or advocacy serves public ends and that such advice or advocacy
12
     depends upon the lawyer's being fully informed by the client.” Id. cf., e.g., In re Pac.
13

14   Pictures Corp., 679 F.3d 1121, 1127 (9th Cir. 2012) (explaining that a theory of

15   selective waiver “does little, if anything, to serve the public good underpinning the
16
     attorney-client privilege.” (emphasis added)).
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           If this privilege is called into doubt, the communication between any client
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     and among any attorneys will be called into question. Attorneys will no longer be
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     comfortable to voice doubt at legal or factual claims (doubt which may be resolved
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21   through caveats or discussion with principles) for fear that expressing doubt will

22   nullify the privilege. Attorneys must be free to probe the weaknesses in their own
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     arguments without fear of voiding the privilege.
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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 8 of 10 Page ID #:6004




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             c. A stay is Warranted Under Either Formulation of the Ninth Circuit’s
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                Test
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             As explained above, the Ninth Circuit has formulated two versions of the four
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     factor test governing stays pending appeal. In so many words, the Ninth Circuit has
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 7   held that where the likelihood of irreparable injury is high, the likelihood of success

 8   factor gets less weight (and vice versa). As explained above, Plaintiff has both a
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     likelihood of success on the merits and a severe risk of irreparable harm. A stay
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     pending appeal is therefore warranted under either formulation of the four-factor
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     test.
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13                                    CONCLUSION

14           For the foregoing reasons, Plaintiff respectfully requests that this Court
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     reconsider the crime fraud findings in its October 19 order. In the alternative, Dr.
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     Eastman respectfully requests that this Court stay its October 19, 2022 Order (ECF
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     372) and Order Dr. Eastman to file his appeal by a date certain.
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Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 9 of 10 Page ID #:6005




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                                      Respectfully submitted,
 3
                                      /s/ Charles Burnham
 4
                                      Charles Burnham (D.C. Bar# 1003464)*
 5                                    Email: charles@burnhamgorokhov.com
                                      BURNHAM & GOROKHOV PLLC
 6
                                      1424 K Street NW, Suite 500
 7                                    Washington, D.C. 20005
                                      Telephone: (202) 386-6920
 8                                    * admitted pro hac vice
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     Case 8:22-cv-00099-DOC-DFM Document 373 Filed 10/27/22 Page 10 of 10 Page ID
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 3
                             CERTIFICATE OF SERVICE
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 5
           I have served this filing on all counsel through the Court’s ECF system.

 6
                                           Respectfully submitted,

 7                                         /s/Anthony T. Caso
                                           Anthony T. Caso (Cal. Bar #88561)
 8                                         CONSTITUTIONAL COUNSEL GROUP
 9
                                           174 W Lincoln Ave # 620
                                           Anaheim, CA 92805-2901
10                                         Phone: 916-601-1916
                                           Fax: 916-307-5164
11                                         Email: atcaso@ccg1776.com
12
                                           Charles Burnham
13                                         (D.C. Bar# 1003464)*
                                           Email: charles@burnhamgorokhov.com
14                                         BURNHAM & GOROKHOV PLLC
                                           1424 K Street NW, Suite 500
15                                         Washington, D.C. 20005
16
                                           Telephone: (202) 386-6920
                                           * admitted pro hac vice
17

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